   Case: 1:19-cv-05574 Document #: 53 Filed: 03/15/20 Page 1 of 2 PageID #:1780




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   IRON MAIDEN HOLDINGS LTD.,

           Plaintiff,                                   Case No.: 1:19-cv-5574

   v.                                                   Judge Thomas M. Durkin

   THE PARTNERSHIPS AND                                 Magistrate Judge Jeffrey Cole
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on October 24, 2019 [45] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                    NO.                                  DEFENDANT
                    346                                   zpooocyy04


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
Case: 1:19-cv-05574 Document #: 53 Filed: 03/15/20 Page 2 of 2 PageID #:1781
